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AO 91 (Rev. 11/11) Criminal Complaint


                              UNITED STATES DISTRICT COURT
                                                       for the                                    7/20/21
                                           Central District of California                               slo




 United States of America,

                 v.
                                                                 Case No.      2:21-mj-03389-DUTY
 JOHNNY RAY GASCA,

                 Defendant.


                                          CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 19, 2021, in the county of Los Angeles in the Central District of California, the

defendant(s) violated:

          Code Section                                           Offense Description

          18 U.S.C. § 1201(a)(2)                                 Kidnapping

        This criminal complaint is based on these facts:

         Please see attached affidavit.

        _ Continued on the attached sheet.


                                                                                /s/ Michael Fukuda
                                                                              Complainant’s signature

                                                                       Michael Fukuda, FBI Special Agent
                                                                               Printed name and title
 Sworn to before me and signed in my

 presence. Date:              
                                                                                 Judge’s signature

 City and state: Los Angeles, California                         Hon. John E. McDermott, U.S. Magistrate Judge
                                                                               Printed name and title


AUSA: Kevin Reidy
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                                AFFIDAVIT

     I, Michael Fukuda, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of a criminal

complaint and arrest warrant against Johnny Ray GASCA (“GASCA”)

for a violation of 18 U.S.C. § 1201(a)(2): Kidnapping.

           This affidavit is also made in support of an

application for warrants to search the following:

           a.     The person of GASCA, as described more fully in

Attachment A-1;

           b.     The premises located at The Dixie Hollywood

Hotel, Room #210, 5410 Hollywood Boulevard, Los Angeles,

California, 90027 (the “SUBJECT PREMISES”), as described more

fully in Attachment A-2; and

           c.     The following digital device, seized on July 19,

2021, and in the custody of the FBI, in Los Angeles, California:

a Samsung Galaxy S9+ in a black case, IMEI 356420091990556 (the

“SUBJECT DEVICE”), as described more fully in Attachment A-3.

           The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Sections 1201 (Kidnapping) and

371 (Conspiracy) (the “Subject Offenses”), as described more

fully in Attachment B.     Attachments A-1, A-2, A-3, and B are

incorporated herein by reference.

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and
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information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrants, and does not purport to set forth

all my knowledge of or investigation into this matter.           Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT
     5.      I have been a Special Agent with the FBI since

September 2008.    From May 2015 through September 2019, I was

assigned to a Criminal Enterprise Squad at the Los Angeles Field

Office of the FBI, specifically the Los Angeles Metropolitan

Task Force on Violent Gangs.       From September 2019 to the

present, I have been assigned to the Violent Crimes Squad, where

I investigate violent crimes, including such crimes as Hobbs Act

robberies, bank robberies, and kidnappings.

     6.      Through my participation in kidnapping investigations,
I have used a variety of investigative techniques, including

reviewing physical evidence, reviewing surveillance images and

cellular telephone data, and speaking with law enforcement

agents and officers.     As a result of this experience and my

conversations with other law enforcement personnel, including

FBI Special Agents and local law enforcement detectives

experienced in kidnapping investigations, I am familiar with the

methods used by kidnappers and effective investigative methods

to solve them.



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                   III. STATEMENT OF PROBABLE CAUSE
           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

      A.   GASCA Grabs E.C. on Federal Property, Throws Her in
           the Back of a Pickup Truck, and Drives Away
           On July 19, 2021, at approximately 11:30 a.m., FBI

received a report from the Department of Veteran Affairs Police

Department (“VA Police”) regarding a kidnapping that had

occurred at the West Los Angeles VA Medical Center, 11301

Wilshire Boulevard, Los Angeles, California, 90073, at

approximately 8:30 a.m. (the “Wilshire VA”).         The Wilshire VA is

located on property owned by the United States government.

           The VA Police reported the following:

           a.    A witness, Valerie Aquino, called 911 around 8:30

a.m. to report a kidnapping.       Aquino told the VA Police that the

victim, E.C., was Aquino’s nanny in the Philippines where Aquino

grew up, and that the two were close friends.          E.C. suffered

from dementia and Aquino had power of attorney for E.C. Aquino

had brought E.C. to a medical clinic at the Wilshire VA for

medical treatment.     After waiting in line at the clinic for a

couple of hours, Wilshire VA staff told Aquino and E.C. that

they were not eligible to receive medical care at the Wilshire

VA.   Aquino and E.C. then walked back to their car in the

Wilshire VA parking lot.

           b.    As Aquino and E.C. approached their car, GASCA

appeared unexpectedly.     GASCA put his arms around E.C. and




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pushed her toward a gold-colored pickup truck that was parked

nearby.    GASCA then picked E.C. up and threw her into the rear

portion of the truck’s passenger compartment.

            FBI agents later interviewed Aquino and she provided

additional details regarding the encounter with GASCA:

            a.     Aquino stated that as GASCA approached the E.C.,

GASCA said to her, “What lies have they been feeding you?”            When

GASCA then put his hands on E.C. and began to push her towards

the gold pickup truck, E.C. told GASCA, “No, no, I’m sick!”

            b.     Aquino further stated that, when GASCA and E.C.

got next to the gold pickup truck, GASCA picked E.C. up off the

ground, threw her into the truck, turned around to face Aquino,

and told Aquino, “Stay the fuck away from me.”          Aquino

recognized GASCA from prior meetings and believed that GASCA and

E.C. had been in some kind relationship previously.

            c.     Aquino also told agents that she suspected that

GASCA may have taken some of E.C.’s money from her bank and

retirement accounts.     During a visit with Aquino in May 2021,

E.C. told Aquino that her retirement fund manager had spoken

with GASCA.      E.C. also told Aquino that some of her credit cards

had gone missing.     Aquino and E.C. then went to E.C.’s bank and

asked to see transaction records for E.C.’s accounts.            Those

bank records showed a $35,000 withdrawal from E.C.’s retirement

account followed by a number of Venmo, Moneygram, and Paypal

transactions that depleted the amount of funds in E.C.’s

account.   Aquino believes that E.C., who is elderly and suffers




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from dementia, did not have the knowledge or wherewithal to use

Venmo, Moneygram, or Paypal.

             d.   Aquino later provided FBI agents with a copy of

E.C.’s bank records which showed a $35,050.33 deposit had been

made into her account on March 5, 2021.         The bank records also

show a number of transfers out of E.C.’s account using Venmo and

Moneygram.
             On July 19, 2021, FBI agents reviewed surveillance

video from around the time of the abduction at the Wilshire VA.

The video shows two women walking in the parking lot who are

then approached by a man wearing a blue t-shirt.          The man

wearing the blue t-shirt grabs one of the women and motions to a

nearby gold-colored pickup truck.       The gold-colored pickup truck

then drives over and stops near where the man wearing the blue

t-shirt and the woman are standing.         The man wearing the blue t-

shirt then pushes the woman toward the gold-colored pickup

truck, opens the passenger side door, and throws the woman into

the truck’s rear passenger seat.       The man wearing the blue t-

shirt then gets into the truck’s front passenger seat before the

truck drives away.

     B.      FBI Locates GASCA and E.C. at the SUBJECT PREMISES and
             Recovers the SUBJECT DEVICE

             On the morning of July 19, 2021, Aquino provided law

enforcement with the number for E.C.’s cellular telephone.            Law

enforcement later issued an Emergency Disclosure Request for

location information for E.C.’s phone to E.C.’s cellular service

provider in order to find her and her kidnapper.




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           Between approximately 3:00 p.m. and 3:59 p.m., law

enforcement received location information for E.C.’s phone

indicating that the phone was within approximately 50 meters of

the SUBJECT PREMISES in Hollywood.
           An FBI task force officer approached the front desk

staff for the SUBJECT PREMISES and was provided with check-in

information for the SUBJECT PREMISES.        Front desk staff

confirmed that GASCA had checked into the SUBJECT PREMISES for

one night and had provided his California driver’s license

during check-in.

           Law enforcement then set up surveillance on Hollywood

Boulevard outside the SUBJECT PREMISES.         GASCA and E.C. were

later seen leaving the hotel.       GASCA was wearing a blue t-shirt

similar to that worn by the individual depicted in the Wilshire

VA surveillance video.     After walking out of the hotel doors,

GASCA and E.C. stopped and GASCA adjusted E.C.’s hat and

clothing in a manner suggesting that he wished to make E.C. look

presentable.    GASCA then walked slightly ahead of E.C. down
Hollywood Boulevard.     Shortly after, law enforcement approached

GASCA and E.C. and placed GASCA under arrest.          Law enforcement

recovered the SUBJECT DEVICE from GASCA’s person during the

arrest.

           FBI is still attempting to locate the driver of the

gold-colored truck during the abduction of E.C. at the Wilshire

VA.




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     C.    GASCA’s Statements
           After his arrest, FBI agents transported GASCA to an

FBI facility, advised him of his Miranda rights, and GASCA

agreed to speak with investigators.

           GASCA reported that he and E.C. stopped at a bank

after he had picked up E.C. from the Wilshire VA.          GASCA stated

that E.C. withdrew $15,000 from her account at the bank--$7,500

in cash and $7,500 in checks.       GASCA stated that E.C. was his

girlfriend.   GASCA had called the Wilshire VA in advance to find

out if E.C. had scheduled an appointment there.          GASCA also told

agents that when he approached E.C. in the parking lot, he asked

E.C. if E.C. wanted to go with him and she said, “Yes.”            He

further stated that Aquino was holding E.C. against her will and

that GASCA went to the Wilshire VA to get her back.           GASCA

stated that he merely guided E.C. to the gold-colored truck and

then lifted her up into the truck because she was too short to

get in by herself.     GASCA said he had hurried E.C. along because

he was worried that Aquino would cause an incident.

     D.    E.C.’s Statements

           FBI agents also interviewed E.C.        E.C. told agents

that she and her “niece,” Aquino, went to the Veteran Affairs

office to have a doctor’s appointment.        When E.C. was not able

to see a doctor, she and Aquino began walking towards their car

to go home.   E.C. then saw her boyfriend, GASCA, walking toward

her and this surprised her because she did not know that GASCA

was watching her.     GASCA said, “I’m Johnny Ray, remember?”

GASCA then took E.C. to a small truck, grabbed E.C.’s forearms,



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and put her inside of it.      E.C. asked GASCA “Why? Am I sick?”

E.C. was scared to run away from GASCA because she was scared

that he would do something to her or the truck might hit her.

E.C. wanted to call Aquino but she could not find her phone.

E.C. also stated that GASCA and someone else had gone to a bank

during the day, but E.C. told GASCA that she did not have any

money.

     E.    In May 2021, GASCA Contacted E.C.’s Family Members to
           Ask After E.C.’s Whereabouts
           In May 2021, GASCA reached out by telephone to B.G., a

stepdaughter of E.C.’s.      In a statement to an FBI agent, B.G.

stated that GASCA had told her that he and E.C. had been living

together in New York but that GASCA had not heard from E.C. in

about a month.     According to GASCA, he and E.C. had traveled to

Los Angeles for a wedding and E.C. had not returned to New York

after that trip.    GASCA also said that it was unlike E.C. to go

so long without getting in touch with GASCA.

             IV. TRAINING AND EXPERIENCE ON KIDNAPPINGS

           From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct kidnapping investigations, I am aware of

the following:

           a.    Kidnappers often engage in advance planning

before abducting their victim to minimize their risk of

apprehension by law enforcement.       Among other matters,

kidnappers will often strategize regarding the location where

they will abduct the victim, the route of travel they will take




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with the victim following the abduction, and the location to

which they will take the victim after the abduction has taken

place.     Kidnappers will often use digital devices, including

cellphones and computers, to strategize and research as part of

their advance planning.

             b.   Although a kidnapper can certainly act alone, it

is common for kidnappers to work in groups.         This is because

kidnapping an individual can be risky given the number of

variables that need to be controlled from physically taking the

victim without notice to concealing the victim from law

enforcement.

             c.   It is not unusual for kidnappers to know their

victims.    This is because kidnappers often have information

about the victim – from daily routines to financial information

– that someone unknown to the victim would not.

             d.   Kidnappers are often financially motivated.         That

is, kidnappers often think that their kidnapping will result in

some type of financial benefit to them.         Such financial benefits

can come from a number of sources, but common ways are from

forced bank withdrawals or payment of a ransom.

             e.   Once the kidnapping has occurred, the perpetrator

typically does not allow his/her hostage to be separated from

them because when the hostage taker loses direct control of the

hostage there is an increased chance the hostage will escape or

call for help.

             f.   Although kidnapping victims can be and often are

moved from one location to another, frequent movement of a


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hostage in a short period of time is unusual.          This is in part

because such movement allows a victim more chances to escape or

call for help, but also because it potentially gives law

enforcement the ability to track the kidnapper, whether visually

or by cellphone tracking.

           g.    Although kidnapping victims often comply with

their captor’s demands to protect themselves – and can try to

placate the kidnapper with compliant or obsequious behavior –

typically victims fear their takers and are not working

collaboratively with them.      To the extent a victim is complying

with a kidnapper’s demands, it is usually only insofar as is

necessary to effectuate the kidnapper’s demands so as not to be

harmed by the kidnapper.      Kidnappers infrequently trust their

victims enough to give them latitude to do things outside the

direct control of the hostage taker, including making purchase

or interacting with the public.

          V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES1
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

     1 As used herein, the term “digital device” includes the
SUBJECT DEVICE and any electronic system or device capable of
storing or processing data in digital form, including central
processing units; desktop, laptop, notebook, and tablet
computers; personal digital assistants; wireless communication
devices, such as paging devices, mobile telephones, and smart
phones; digital cameras; gaming consoles; peripheral
input/output devices, such as keyboards, printers, scanners,
monitors, and drives; related communications devices, such as
modems, routers, cables, and connections; storage media; and
security devices.

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           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and


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who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel
may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of



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data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.




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           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress GASCA’s thumb- and/or fingers on the

device(s); and (2) hold the device(s) in front of GASCA’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                     VI. REQUEST FOR NIGHT SERVICE

           Law enforcement asks permission to execute this

warrant as soon as possible, before 6:00 a.m., in order to

minimize risks that evidence pertinent to the investigation will

be destroyed before the warrant could be executed.           Since

approximately 5:00 p.m., agents have been preventing ingress or

egress from the SUBJECT PREMISES in an attempt to preserve any

evidence inside the location.       Law enforcement believes that the

SUBJECT PREMISES contains additional digital devices belonging

to GASCA, E.C., or one of GASCA’s accomplices.          Law enforcement

believes that immediate entry into the SUBJECT PREMISES is

necessary to seize any digital devices inside in order to

mitigate the risk that one of GASCA’s accomplices, such as the

individual who drove the gold truck away from the Wilshire VA,

will remotely delete pertinent information located on one or

more of the digital devices in the SUBJECT PREMISES.




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                             VII.CONCLUSION
           For all of the reasons described above, there is

probable cause to believe that GASCA has committed a violation

of 18 U.S.C. § 1201(a)(2): Kidnapping.        There is also probable

cause that the items to be seized described in Attachment B will

be found in a search of the person of GASCA described in

Attachment A-1, the SUBJECT PREMISES described in Attachment A-

2, and the SUBJECT DEVICE described in Attachment A-3.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this WK
                  ____ day of
July, 2021.



UNITED STATES MAGISTRATE JUDGE




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